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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE:                                                           21-CV-9924 (JPO)

 KOSSOFF PLLC,                                                    21-CV-9938 (JPO)

                           Appellant.                                  ORDER



J. PAUL OETKEN, District Judge:

       Appellant Mitchell H. Kossoff has moved for reconsideration of this Court’s orders

directing the Clerk of Court to close the case and dismiss Appellant’s appeal as moot. (Dkt. No.

9 (21-CV-9924); Dkt. No. 12 (21-CV-9938).)

       Appellant had originally filed for an emergency motion to stay the Bankruptcy Court’s

decision ordering him held in contempt if he failed to make appropriate filings on or before

November 30, 2021. (Dkt. No. 1 (21-CV-9924); Dkt. No. 1 (21-CV-9938). On December 2,

2021, this Court entered orders denying Appellant’s motion. (Dkt. No. 7 (21-CV-9924); Dkt.

No. 10 (21-CV-9938).) On December 21, 2021, the Court sua sponte entered orders dismissing

these cases as moot. (Dkt. No. 8 (21-CV-9924); Dkt. No. 11 (21-CV-9938).)

       Appellant’s motion for reconsideration is denied for the reasons stated in Appellee’s

opposition brief. (See Dkt. No. 16 (21-CV-9938).) Appellant has failed to demonstrate, as

required, that the Court overlooked controlling decisions of law or made clear errors of law. See,

e.g., Shrader v. CSX Transp. Inc., 70 F.3d 255, 257 (2d Cir. 1995). Moreover, it is clear that the

bankruptcy court did not abuse its discretion or err in holding Appellant in contempt.




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      Accordingly, Appellant’s motions for reconsideration are DENIED.

      The Clerk of Court is directed to close the motions at Docket Number 9 (21-CV-9924)

and Docket Number 12 (21-CV-9938).

      SO ORDERED.

Dated: January 11, 2021
       New York, New York

                                         ____________________________________
                                                    J. PAUL OETKEN
                                                United States District Judge




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